         Case 3:24-cv-00666-YY         Document 1     Filed 04/18/24     Page 1 of 38




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First Mercury Insurance Company

                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION

  FIRST MERCURY INSURANCE
                                                    No. 3:24-cv-00666
  COMPANY, a foreign corporation,
                        Plaintiff,                  COMPLAINT FOR DECLARATORY
                                                    RELIEF
                vs.

  3CD OR, LLC, an Oregon Limited Liability
  Company; DVKOCR TIGARD, LLC, an
  Oregon Limited Liability Company; CHRIS
  HUMPHRIES, an individual; HUTCHISON
  CONSTRUCTION, INC., an Oregon
  corporation; ARWAY ENTERPIRSES, INC.,
  DBA KEC ELECTRIC, INC., an Oregon
  Corporation; KNIFE RIVER
  CORPORATION NORTHWEST, an Oregon
  corporation; WESTWIND CONCRETE,
  INC., an Oregon corporation; PORTER
  ELECTRIC, INC., an Oregon Corporation,
  BLUE MOUNTAIN POOLS, INC., an
  Oregon Corporation,

                        Defendants.

       Plaintiff First Mercury Insurance Company (FMIC) submits the following Complaint for

Declaratory Relief pursuant to 28 U.S.C. §2201 and Fed. R. Civ. P. 57.



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         Case 3:24-cv-00666-YY           Document 1     Filed 04/18/24      Page 2 of 38




                                         I.    PARTIES

       1.1.    FMIC is a foreign insurance company organized under the state laws of the State

of Delaware with its principle place of business located in the State of New Jersey.

       1.2.    Defendant 3CD OR, LLC (3CD) is an Oregon limit liability company. Upon

information and belief, all members and managers of 3CD are residents of Oregon.

       1.3.    Defendant DVKOCR Tigard, LLC (DVK) is an Oregon limit liability company.

Upon information and belief, all members and managers of 3CD are residents of Oregon.

       1.4.    Upon information and belief, Defendant Humphries is a resident of Oregon and a

member and/or manager of 3CD.

       1.5.    Defendant Hutchison Construction, Inc. (HCI) is an Oregon corporation with its

principal place of business in Oregon.

       1.6.    Defendant Arway Enterprises, Inc., DBA KEC Electric, Inc. (KEC) is an Oregon

corporation with its principal place of business in Oregon.

       1.7.    Defendant Knife River Corporation Northwest (Knife River) is an Oregon

corporation with its principal place of business in Oregon.

       1.8.    Defendant Westwind Concrete, Inc. (Westwind) is an Oregon corporation with its

principal place of business in Oregon.

       1.9.    Defendant Porter Electric, Inc. (Porter) is an Oregon corporation with its principal

place of business in Oregon.

       1.10.   Defendant Blue Mountain Pools, Inc. (BMP) is an Oregon corporation with its

principal place of business in Oregon.

                           II.     JURISDICTION AND VENUE

       2.1     Jurisdiction is properly before this Court pursuant to 28 U.S.C. §1332, et. seq., as



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             Case 3:24-cv-00666-YY      Document 1       Filed 04/18/24     Page 3 of 38




complete diversity exists among the parties and the amount in controversy exceeds $75,000.

        2.2      The Court has jurisdiction over this declaratory judgment action pursuant to

28 U.S.C. §2201 because there is an actual and justiciable controversy between the parties with

respect to the existence of insurance coverage under the policies of insurance issued by FMIC.

A judicial determination and declaration of the rights and obligations of the parties is necessary

and appropriate at this time because FMIC has no adequate remedy at law which will resolve the

current controversy.

        2.3      Venue is proper in this Court pursuant to 28 U.S.C. §1391 as this action involves

a dispute over the application of insurance coverage to an Oregon named insured, events and

omissions which gave rise to this claim occurred in this district, and because the Defendants are

subject to this Court’s personal jurisdiction.

                                          III.   FACTS

        3.1.     FMIC reasserts paragraphs 1.1 through 2.3 and incorporates the same as though

fully set forth herein.

A.      The Subject Loss

        3.2.     This claim arises out of the construction of the Hampton Inn & Suites located at

11799 SW 69th Ave in Tigard, Oregon (the “Project”).

        3.3.     DVK is the Project’s owner and Hill Architects, P.C. (Hill) is the Project’s

architect.

        3.4.     Pursuant to a contract dated December 13, 2018 between DVK and 3CD, 3CD

agreed to provide all labor, materials, supplies, and supervision as the Project’s general

contractor. It is alleged that Chris Humphries, Justin Chester, Travis Olson, and Irina Sirotkina

were members of 3CD at various points during the pendency of the Project. It is also alleged that



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          Case 3:24-cv-00666-YY         Document 1       Filed 04/18/24      Page 4 of 38




Mr. Humphries was one of 3CD’s project managers for the Project.

        3.5.    FMIC understands that 3CD hired HCI as an excavation subcontractor on the

Project. It is alleged that HCI’s work on the Project began on or about December 14, 2018.

Pursuant to a subsequent subcontract dated April 23, 2019, HCI was to provide site prep,

excavation, grading, backfill, and storm sewer system installation work for the Project’s

construction.

        3.6.    On or about February 27, 2019, KEC entered into a subcontract with 3CD for

work on the Project. It is alleged that KEC’s work began no later than March 1, 2019 and ended

on or about November 4, 2021.

        3.7.    On or about March 20, 2019, 3CD entered into a subcontract with Westwind for

work on the Project. It is alleged that Westwind completed its work on or about September 30,

2021.

        3.8.    On or about June 7, 2019, 3CD entered into a subcontract with Knife River for

construction of the Project. It is alleged that Knife River’s work took place from January 21,

2021 through September 25, 2021.

        3.9.    On or about July 17, 2019, 3CD entered into a subcontract with Porter for

construction of the project. It is alleged that Porter’s work was substantially complete on or about

November 14, 2021 and closeout and punch lists were complete on or about January 14, 2022.

        3.10.   3CD also entered into a subcontract with BMP for the furnishing and installation

of a swimming pool and hot tub spa at the Project. It is alleged that BMP’s work was performed

between January 20, 2020 through January 10, 2022.

        3.11.   Sometime in the course of construction, issues and/or construction defects with

the excavation and site work arose and that this work was performed by 3CD, HCI, and other



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         Case 3:24-cv-00666-YY         Document 1       Filed 04/18/24      Page 5 of 38




subcontractors. FMIC understands that work on the Project continued after these issues were

repaired. FMIC also understands that subsequent issues with the excavation/site work arose.

B.     The Underlying Lawsuit

       3.12.   On December 17, 2020, HCI initiated the lawsuit entitled, Hutchison

Construction, Inc. v. DVKOCR Tigard, LLC, et al. Oregon Circuit Court - Washington County

Case No. 20-CV-44636 (the “Underlying Lawsuit”). HCI asserts a claim for intentional

interference with economic relations against Mr. Humphries, seeking $1.2M in damages. FMIC

understands that the claims asserted against 3CD and Mr. Humphries in the lawsuit may involve

exposure for the opposing parties’ attorney’s fees.

       3.13.   On February 18, 2021, DVK filed its answer, counterclaims, and third-party

claims against 3CD in the Underlying Lawsuit. On November 17, 2021, DVK filed its amended

counterclaims and joined counterclaims. Against 3CD, DVK asserted joined counterclaims of

breach of contract (failure to bond/release lien); indemnity; and negligence. Regarding its

negligence claim, DVK alleges:

               3CD failed to perform such oversight in a good and workmanlike
               manner and pursuant to the standard of care in its industry and in the
               general locale of the Project. As a direct, proximate and foreseeable
               result of 3CD’s negligence, the Project incurred significant delays,
               and DVKOCR suffered losses and property damage, including but
               not limited to costs to uncover, repair and complete Hutchison’s
               work, in an amount to be proven at trial. DVKOCR has also incurred
               losses and damages related to the delays and resulting loss of use of
               the completed hotel caused by 3CD’s negligence.

       3.14.   On February 2, 2022, 3CD filed counterclaims against HCI for breach of contract.

       3.15.   On August 18, 2022, HCI filed its third amended complaint (TAC). Against 3CD,

HCI asserts claims of breach of subcontract and quantum meruit, claiming $1.2 million in

amounts unpaid. The TAC asserts claims of intentional interference with economic relations



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         Case 3:24-cv-00666-YY         Document 1       Filed 04/18/24    Page 6 of 38




against Mr. Humphries in his personal capacity. Specifically, HCI alleges:

               …Humphries otherwise interfered with the Subcontract and HCI’s
               relationship with 3CD through improper means by, among other
               things, defaming HCI to 3CD, its other members, and the other
               contractors on the Project; wrongfully interfering with payment for
               HCI’s Work; to try to intimidate HCI to accept less than was
               rightfully due under the Subcontract; falsifying Project documents
               to harm HCI; wrongfully interfering with HCI’s ability to perform
               on the Project—all of which did not serve any legitimate purpose.
               Humphries acted for an improper purpose to pursue a personal
               vendetta against HCI and Mr. Hutchison to punish them for
               challenging his bullying, imperious conduct, abusive behavior, and
               wrongful acts on the Project.
               …

               …Humphries’ interference, tortious acts, and personal vendetta
               against HCI and Mr. Hutchison were also detrimental to 3CD and
               the other 3CD members. Humphries’ tortious conduct interfered
               with the performance of the Project harming 3CD. Humphries’
               defamation and misrepresentations to DVKOCR caused payment
               issues with the Project owner that deprived payments to 3CD or its
               members.

       3.16.   The claims asserted against 3CD and Mr. Humphries in the lawsuit may involve

exposure for the opposing parties’ attorney’s fees.

       3.17.   On August 25, 2022, Knife River filed its answer to the TAC and asserted

crossclaims for lien foreclosure and breach of contract against 3CD, alleging entitlement to

$54,697.61 plus interest of amounts unpaid.

       3.18.   On August 29, 2022, KEC filed crossclaims against 3CD for breach of contract

and quantum meruit alleging entitlement to $65,755.48 plus interest of amounts unpaid.

       3.19.   On September 9, 2022, DVK filed its answer to the TAC and cross claims against

3CD. On March 27, 2023, DVK filed its amended answer to the TAC and cross claims against

3CD for breach of contract (Failure to Bond/Release Lien); breach of contract (deficient

Construction); contractual indemnity; and negligence.



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          Case 3:24-cv-00666-YY         Document 1      Filed 04/18/24      Page 7 of 38




        3.20.   DVK alleges extensive deficient work against 3CD regarding its work on the

Project. Many of DVK’s enumerated construction defect allegations appear to be for punch list

items and construction management/business practices.

        3.21.   Furthermore, FMIC understands that the claims asserted against 3CD by DVK in

the Underlying Lawsuit involve allegations of unsupported damages against 3CD, including, but

not limited to, claims related to the Project’s siding, parking garage, roof, and grouting. In this

regard, FMIC has not been provided with any documentation or information regarding the cause

and scope of the alleged defect, proposed repair or repair costs, or any details or substantive

information regarding the alleged claims.

        3.22.   Upon notice and receipt of the Underlying Lawsuit, FMIC promptly opened a

claim and initiated its claims investigation.

        3.23.   FMIC is currently defending 3CD and Mr. Humphries in the Underlying Lawsuit

subject to a reservation of rights.

        3.24.   Throughout the course of the claims handling process, 3CD and Mr. Humphries

have taken the position that prosecution of 3CD’s Affirmative Claims and the defense of the

Economic Damage Claims are necessary and related to their defense in the Underlying Lawsuit.

C.      The Consolidated Lawsuits

        3.25.   On February 10, 2022, Westwind filed a suit against 3CD and other parties in a

matter entitled, Westwind Concrete, Inc. v. 3CD OR, LLC, et al., Oregon Circuit Court

Washington County Case No. 22CV05375 (the “Westwind Lawsuit”). Against 3CD, Westwind

asserts claims for breach of lien foreclosure, breach of contract, and quantum meruit. On June 6,

2022, the Westwind Lawsuit was consolidated with the Underlying Lawsuit.

        3.26.   On April 5, 2022, Knife River filed suit against 3CD and other parties in a matter



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             Case 3:24-cv-00666-YY       Document 1        Filed 04/18/24      Page 8 of 38




entitled, Knife Rive Corporation Northwest v. DCKOCR, LLC, et al., Oregon Circuit Court -

Washington County Case No. 22CV11474 (the “Knife River Lawsuit”). Against 3CD, the Knife

River Lawsuit asserts claims of lien foreclosure, breach of contract, and quantum meruit. Knife

River alleges it is owed $594.00 plus interest for its work on the Project. In the Knife River

Lawsuit, on July 27, 2022, BMP asserted cross claims against 3CD for lien foreclosure and

breach of contract. BMP alleges it is owed $87,367.19 plus interest. In June of 2022, the Knife

River Lawsuit was consolidated with the Underlying Lawsuit.

        3.27.    On June 30, 2022, Porter filed suit against 3CD and other parties in a matter

entitled, Porter Electric, Inc. v. 3CD OR LLC, et al., Oregon Circuit Court Washington County

Case No. 22CV21871 (the “Porter Lawsuit”). Against 3CD, the Porter Lawsuit asserts claims of

lien foreclosure, breach of contract, and quantum meruit. Porter alleges it is owed $77,383.43

plus interest for its work on the Project. On August 9, 2022, the Porter Lawsuit was consolidated

with the Underlying Lawsuit.

D.      The Primary Policy

        1.       Identification of the Primary Policy

        3.28.    FMIC issued a commercial general liability policy no. CA-CGL-0000081311-01

(effective (12/13/18-11/13/21) (the “Primary Policy”) to 3CD and other named insureds.

        3.29.    The Primary Policy includes a $1 million each occurrence limit of liability, a $1

million personal and advertising limit of liability, a $2 million general aggregate limit of liability,

and a $2 million products-completed operations limit of liability. Pursuant to Form FMIC-GL-

2015 (02/2014), the Primary Policy also includes a $5,000 deductible per occurrence for Bodily

Injury and/or Property Damage Liability Coverage Combined.

        3.30.    The Primary Policy includes the following provisions regarding Who Is An



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            Case 3:24-cv-00666-YY       Document 1       Filed 04/18/24     Page 9 of 38




Insured:

                Various provisions in this policy restrict coverage. Read the entire
                policy carefully to determine rights, duties and what is and is not
                covered.

                Throughout this policy the words "you" and "your" refer to the
                Named Insured shown in the Declarations, and any other person or
                organization qualifying as a Named Insured under this policy. The
                words "we," "us" and "our" refer to the company providing this
                insurance.

                The word "insured" means any person or organization qualifying
                as such under Section II - Who Is An Insured.

                Other words and phrases that appear in quotation marks have
                special meaning. Refer to Section V - Definitions.
                …

                SECTION II – WHO IS AN INSURED

                1.     If you are designated in the Declarations as:
                       …

                       c.      A limited liability company, you are an insured.
                               Your members are also insureds, but only with
                               respect to the conduct of your business. Your
                               managers are insureds, but only with respect to
                               their duties as your managers.
                …

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       2.       Primary Policy Insuring Agreement

       3.31.    The Primary Policy includes the following insuring agreement:

                COVERAGE A - BODILY INJURY AND PROPERTY
                DAMAGE LIABILITY

                1.     Insuring Agreement

                       a.      We will pay those sums that the insured becomes
                               legally obligated to pay as damages because of
                               "bodily injury'' or "property damage" to which this
                               insurance applies. We will have the right and duty


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     Case 3:24-cv-00666-YY   Document 1        Filed 04/18/24      Page 10 of 38




                     to defend the insured against any "suit" seeking
                     those damages. However, we will have no duty to
                     defend the insured against any "suit" seeking
                     damages for "bodily injury'' or "property damage”
                     to which this insurance does not apply. We may, at
                     our discretion, investigate any "occurrence" and
                     settle any claim or ''suit" that may result. But:

                     (1)     The amount we will pay for damages is
                             limited as described in Section III – Limits
                             Of Insurance; and
                     (2)     Our right and duty to defend ends when we
                             have used up the applicable limit of
                             insurance in the payment of judgments or
                             settlements under Coverages A or B or
                             medical expenses under Coverage C.

                     No other obligation or liability to pay sums or
                     perform acts or services is covered unless explicitly
                     provided for under Supplementary Payments –
                     Coverages A and B.

               b.    This insurance applies to “bodily injury” and
                     “property damage” only if:

                     (1)     The “bodily injury” or “property damage”
                             is caused by an “occurrence”;
                     (2)     The “bodily injury” or “property damage”
                             occurs during the policy period, or during
                             the Coverage Extension Period as set forth
                             under Paragraph F. of this endorsement.
                     (3)     Prior to the policy period, no insured listed
                             under Paragraph 1. of Section II – Who Is
                             An Insured and no "employee" authorized
                             by you to give or receive notice of an
                             "occurrence" or claim, knew that the
                             "bodily injury" or "property damage" had
                             occurred, in whole or in part. If such a listed
                             insured or authorized "employee" knew,
                             prior to the policy period, that the "bodily
                             injury" or "property damage" occurred, then
                             any continuation, change or resumption of
                             such "bodily injury" or "property damage"
                             during or after the policy period will be
                             deemed to have been known prior to the
                             policy period.


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       Case 3:24-cv-00666-YY         Document 1      Filed 04/18/24     Page 11 of 38




                             (4)    The "bodily injury" or "property damage"
                                    arises out of construction operations
                                    performed at the project(s) shown and as
                                    described in the Project Schedule
                                    (hereafter referred to as the Project).

                      c.     "Bodily Injury" or "property damage" which occurs
                             during the policy period and was not, prior to the
                             policy period, known to have occurred by any
                             insured listed under Paragraph 1. of Section II –
                             Who Is An Insured or any "employee" authorized
                             by you to give or receive notice of an "occurrence"
                             or claim, includes any continuation, change or
                             resumption of "bodily injury" or "property damage"
                             after the end of the policy period.
                      d.     "Bodily injury" or "property damage" will be
                             deemed to have been known to have occurred at the
                             earliest time when any insured listed under
                             Paragraph 1. of Section II – Who Is An Insured or
                             any "employee" authorized by you to give or
                             receive notice of an "occurrence" or claim:

                             (1)    Reports all, or any part, of the "bodily
                                    injury" or "property damage" to us or any
                                    other insurer;
                             (2)    Receives a written or verbal demand or
                                    claim for damages because of the "bodily
                                    injury" or "property damage"; or
                             (3)    Becomes aware by any other means that
                                    "bodily injury" or "property damage" has
                                    occurred or has begun to occur.
           …

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      3.       Primary Policy Exclusions

      3.32.    The Primary Policy includes the following exclusions:

               COVERAGE A - BODILY INJURY AND PROPERTY
               DAMAGE LIABILITY
               …

               2.     Exclusions

                      This insurance does not apply to:


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     Case 3:24-cv-00666-YY   Document 1       Filed 04/18/24      Page 12 of 38




               a.    Expected Or Intended Injury

                     "Bodily injury" or "property damage" expected or
                     intended from the standpoint of the insured. This
                     exclusion does not apply to "bodily injury"
                     resulting from the use of reasonable force to protect
                     persons or property.

               b.    Contractual Liability

                     "Bodily injury" or "property damage" for which the
                     insured is obligated to pay damages by reason of
                     the assumption of liability in a contract or
                     agreement. This exclusion does not apply to
                     liability for damages:

                     (1)     That the insured would have in the absence
                             of the contract or agreement; or
                     (2)     Assumed in a contract or agreement that is
                             an "insured contract", provided the "bodily
                             injury" or "property damage" occurs
                             subsequent to the execution of the contract
                             or agreement. Solely for the purposes of
                             liability assumed in an "insured contract",
                             reasonable attorneys' fees and necessary
                             litigation expenses incurred by or for a party
                             other than an insured are deemed to be
                             damages because of "bodily injury" or
                             "property damage", provided:

                             (a)    Liability to such party for, or for the
                                    cost of, that party's defense has also
                                    been assumed in the same "insured
                                    contract"; and
                             (b)    Such attorneys' fees and litigation
                                    expenses are for defense of that
                                    party against a civil or alternative
                                    dispute resolution proceeding in
                                    which damages to which this
                                    insurance applies are alleged.
               ...

               j.    Damage To Property

                     "Property damage" to:


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     Case 3:24-cv-00666-YY   Document 1       Filed 04/18/24     Page 13 of 38




                     …

                     (5)     That particular part of real property on
                             which you or any contractors or
                             subcontractors working directly or
                             indirectly on your behalf are performing
                             operations, if the "property damage" arises
                             out of those operations; or
                     (6)     That particular part of any property that
                             must be restored, repaired or replaced
                             because "your work" was incorrectly
                             performed on it.
                     …

                     Paragraphs (3), (4), (5) and (6) of this exclusion do
                     not apply to liability assumed under a sidetrack
                     agreement.

               k.    Damage To Your Product

                     "Property damage" to "your product" arising out of
                     it or any part of it.

               l.    Damage To Your Work

                     "Property damage" to "your work" arising out of it
                     or any part of it and included in the "products
                     completed operations hazard".

                     This exclusion does not apply if the damaged work
                     or the work out of which the damage arises was
                     performed on your behalf by a subcontractor.


                     Paragraph (6) of this exclusion does not apply to
                     "property damage" included in the "products-
                     completed operations hazard."

               m.    Damage To Impaired Property Or Property Not
                     Physically Injured

                     "Property damage" to "impaired property" or
                     property that has not been physically injured,
                     arising out of:

                     (1)     A   defect,   deficiency,   inadequacy    or


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       Case 3:24-cv-00666-YY        Document 1       Filed 04/18/24     Page 14 of 38




                                   dangerous condition in "your product" or
                                   "your work"; or
                           (2)     A delay or failure by you or anyone acting
                                   on your behalf to perform a contract or
                                   agreement in accordance with its terms.

                           This exclusion does not apply to the loss of use of
                           other property arising out of sudden and accidental
                           physical injury to "your product" or "your work"
                           after it has been put to its intended use.

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             CONSTRUCTION PROJECT ENDORSEMENT PROJECT
                        SPECIFIC - VERSION 1

             This endorsement modifies insurance provided under the
             following:

                  COMMERCIAL GENERAL LIABILITY COVERAGE
                                 PART
             …

             B.     Under COVERAGE A BODILY INJURY AND
                    PROPERTY DAMAGE LIABILITY, 2. Exclusions is
                    amended to include the following additional exclusion:

                    This insurance does not apply to "property damage" to the
                    Project(s) or any part of the Project(s) that occurs during
                    the course of construction. The Project(s) or any part of the
                    Project(s) will be deemed to be within the course of
                    construction until the Project(s) is "completed."

             …

             E.     Under SECTION V - DEFINITIONS:
             …

                    2.     The following definition is added:

                           "Completed" means deemed completed as set forth
                           under subparagraph a. (2) of Definition 16.
                           "products-completed operations hazard" (in
                           subparagraph E. 1. above).

FMIC-GL-2580(03/2018)


COMPLAINT FOR DECLARATORY RELIEF– 14                               LETHER LAW GROUP
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           Case 3:24-cv-00666-YY      Document 1      Filed 04/18/24     Page 15 of 38




       3.33.   The Primary Policy includes the following Supplementary Payments Provisions:

               SUPPLEMENTARY PAYMENTS - COVERAGES A AND B

               1.     We will pay, with respect to any claim we investigate or
                      settle, or any "suit" against an insured we defend:

                      a.     All expenses we incur.
                      b.     Up to $250 for cost of bail bonds required because
                             of accidents or traffic law violations arising out of
                             the use of any vehicle to which the Bodily Injury
                             Liability Coverage applies. We do not have to
                             furnish these bonds.
                      c.     The cost of bonds to release attachments, but only
                             for bond amounts within the applicable limit of
                             insurance. We do not have to furnish these bonds.
                      d.     All reasonable expenses incurred by the insured at
                             our request to assist us in the investigation or
                             defense of the claim or "suit," including actual loss
                             of earnings up to $250 a day because of time off
                             from work.
                      e.     All court costs taxed against the insured in the
                             "suit." However, these payments do not include
                             attorneys' fees or attorneys' expenses taxed against
                             the insured.
                      f.      Prejudgment interest awarded against the insured
                             on that part of the judgment we pay. If we make an
                             offer to pay the applicable limit of insurance, we
                             will not pay any prejudgment interest based on that
                             period of lime after the offer.
                      g.     All interest on the full amount of any judgment that
                             accrues after entry of the judgment and before we
                             have paid, offered to pay, or deposited in court the
                             part of the judgment that is within the applicable
                             limit of insurance.

               These payments will not reduce the limits of insurance.

CG 00 01 04 13

       4.      Other Primary Policy Provisions

       3.34.   The Primary Policy includes the following provisions regarding duties of an

insured:


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     Case 3:24-cv-00666-YY   Document 1       Filed 04/18/24     Page 16 of 38




    SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS
    …

         2.    Duties In The Event Of Occurrence, Offense, Claim Or
               Suit

               a.    You must see to it that we are notified as soon as
                     practicable of an "occurrence" or an offense which
                     may result in a claim. To the extent possible, notice
                     should include:

                     (1)     How, when and where the "occurrence" or
                             offense took place;
                     (2)     The names and addresses of any injured
                             persons and witnesses; and
                     (3)     The nature and location of any injury or
                             damage arising out of the "occurrence" or
                             offense.

               b.    If a claim is made or "suit" is brought against any
                     insured, you must:

                     (1)     Immediately record the specifics of the
                             claim or "suit" and the date received; and
                     (2)     Notify us as soon as practicable.

                     You must see to it that we receive written notice of
                     the claim or "suit" as soon as practicable.

               c.    You and any other involved insured must:

                     (1)     Immediately send us copies of any
                             demands, notices, summonses or legal
                             papers received in connection with the
                             claim or "suit";
                     (2)     Authorize us to obtain records and other
                             information;
                     (3)     Cooperate with us in the investigation or
                             settlement of the claim or defense against
                             the "suit"; and
                     (4)     Assist us, upon our request, in the
                             enforcement of any right against any person
                             or organization which may be liable to the
                             insured because of injury or damage to
                             which this insurance may also apply.



COMPLAINT FOR DECLARATORY RELIEF– 16                        LETHER LAW GROUP
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             Case 3:24-cv-00666-YY     Document 1       Filed 04/18/24      Page 17 of 38




                        d.     No insured will, except at that insured's own cost,
                               voluntarily make a payment, assume any
                               obligation, or incur any expense, other than for first
                               aid, without our consent.

CG 00 01 04 13

        3.35.     The Primary Policy includes the following provisions regarding the limits of

liability:

                 COVERAGE A - BODILY INJURY AND PROPERTY
                 DAMAGE LIABILITY
                 …

                 SECTION III – LIMITS OF INSURANCE

                 1.     The Limits of Insurance shown in the Declarations and the
                        rules below fix the most we will pay regardless of the
                        number of:

                        a.     Insureds;
                        b.     Claims made or "suits" brought; or
                        c.     Persons or organizations making claims or bringing
                               "suits".

                 2.     The General Aggregate Limit is the most we will pay for
                        the sum of:

                        a.     Medical expenses under Coverage C;
                        b.     Damages under Coverage A, except damages
                               because of "bodily injury" or "property damage"
                               included in the "products-completed operations
                               hazard"; and
                        c.     Damages under Coverage B.

                 3.     The Products-Completed Operations Aggregate Limit is
                        the most we will pay under Coverage A for damages
                        because of "bodily injury" and "property damage" included
                        in the "products-completed operations hazard".
                 …

                 5.     Subject to Paragraph 2. or 3. above, whichever applies, the
                        Each Occurrence Limit is the most we will pay for the sum
                        of:



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       Case 3:24-cv-00666-YY        Document 1      Filed 04/18/24     Page 18 of 38




                     a.     Damages under Coverage A; and
                     b.     Medical expenses under Coverage C because of all
                            "bodily injury" and "property damage" arising out
                            of any one "occurrence".
              …

              The General Aggregate Limit, the Products-Completed Operations
              Aggregate Limit and if applicable the Total Policy Aggregate
              Limit of this Policy shall apply, to the entirety of:

              1.     the "policy period"; and
              2.     if applicable any coverage extension period provided
                     under this Policy.

              As used in this endorsement, "policy period" means the policy
              period shown on the Declarations and includes any extension of
              such policy period by endorsement.

CG 00 01 04 13 as modified by FMIC-GL-2642(06/2018)

                    CONSTRUCTION PROJECT ENDORSEMENT
                        PROJECT SPECIFIC - VERSION 1

              This endorsement modifies insurance provided under the
              following:

              COMMERCIAL          GENERAL        LIABILITY      COVERAGE
              PART

              The Project Schedule referred to throughout this endorsement
              appears at the end of this endorsement.
              …

              F.     Coverage Extension Period
                     …

                     2.     The Limits Of Insurance set forth in the
                            Declarations continue to apply and are not separate
                            or different from, increased with respect to, or
                            reinstated for the Coverage Extension Period
                            referred to in subparagraph F.1. above.

FMIC-GL-2580 (03/2018)

      3.36.   The Primary Policy includes the following provisions regarding other insurance:



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       Case 3:24-cv-00666-YY         Document 1       Filed 04/18/24      Page 19 of 38




              a.     Primary Insurance

                     This insurance is primary except when Paragraph b. below
                     applies. We will not seek contribution from any other
                     insurance available to a Named Insured. With respect to
                     other insureds, and subject to the Primary And
                     Noncontributory Insurance provision below, if this
                     insurance is primary our obligations are not affected unless
                     any of the other insurance is also primary. Then we will
                     share with that other insurance by the method described in
                     c. below.
              …

              c.     Method Of Sharing

                     If all of the other insurance permits contribution by equal
                     shares, we will follow this method also. Under this
                     approach each insurer contributes equal amounts until it
                     has paid its applicable limit of insurance or none of the loss
                     remains, whichever comes first.

                     If any of the other insurance does not permit contribution
                     by equal shares, we will contribute by limits. Under this
                     method, each insurer's share is based on the ratio of its
                     applicable limit of insurance to the total applicable limits
                     of insurance of all insurers.

              …

              This insurance is primary to and will not seek contribution from
              any other insurance available to an additional insured under your
              policy provided that:

              a.     The additional insured is a Named Insured under such other
                     insurance; and
              b.     You have agreed in writing in a contract or agreement that
                     this insurance would be primary and would not seek
                     contribution from any other insurance available to the
                     additional insured.

CG 00 01 04 13 as modified by FMIC-GL-2580 (03/2018)

      5.      Primary Policy Definitions

      3.37.   The Primary Policy includes the following definitions:



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     Case 3:24-cv-00666-YY    Document 1       Filed 04/18/24     Page 20 of 38




         SECTION V – DEFINITIONS
         …

         3.    "Bodily injury" means bodily injury, sickness or disease
               sustained by a person, including death resulting from any
               of these at any time.
         …

         8.    "Impaired property" means tangible property, other than
               "your product" or "your work", that cannot be used or is
               less useful because:

               a.     It incorporates "your product" or "your work" that
                      is known or thought to be defective, deficient,
                      inadequate or dangerous; or
               b.     You have failed to fulfill the terms of a contract or
                      agreement;

               if such property can be restored to use by the repair,
               replacement, adjustment or removal of "your product" or
               "your work" or your fulfilling the terms of the contract or
               agreement.
         …

         13.   "Occurrence" means an accident, including continuous or
               repeated exposure to substantially the same general
               harmful conditions.
         …

         15.   "Pollutants" mean any solid, liquid, gaseous or thermal
               irritant or contaminant, including smoke, vapor, soot,
               fumes, acids, alkalis, chemicals and waste. Waste includes
               materials to be recycled, reconditioned or reclaimed.

         16.   "Products-completed operations hazard":

               a.     Includes all "bodily injury" and "property damage"
                      arising out of "your product" or "your work"
                      except:

                      (1)     Products that are still in your physical
                              possession; or
                      (2)     Work that has not yet been completed or
                              abandoned. However, "your work" will be
                              deemed completed at the earliest of the
                              following times:


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     Case 3:24-cv-00666-YY    Document 1       Filed 04/18/24     Page 21 of 38




                             (a)     Completion and acceptance of the
                                     entire Project(s) by all parties
                                     designated in its construction
                                     agreement;
                             (b)     When all of the work to be done at a
                                     location shown in the Project
                                     Schedule has been completed if the
                                     Project(s) calls for work at more
                                     than one location;
                             (c)     When that part of the work done at
                                     the Project(s) has been put to its
                                     intended use by any person or
                                     organization other than another
                                     contractor or subcontractor working
                                     on the same Project(s).

                      Work that may need service, maintenance,
                      correction, repair or replacement, but which is
                      otherwise complete, will be treated as completed.

         17.   "Property damage" means:

               a.     Physical injury to tangible property, including all
                      resulting loss of use of that property. All such loss
                      of use shall be deemed to occur at the time of the
                      physical injury that caused it; or
               b.     Loss of use of tangible property that is not
                      physically injured. All such loss of use shall be
                      deemed to occur at the time of the "occurrence" that
                      caused it. For the purposes of this insurance,
                      electronic data is not tangible property.

         18.   "Suit" means a civil proceeding in which damages because
               of "bodily injury", "property damage" or "personal and
               advertising injury" to which this insurance applies are
               alleged. "Suit" includes:

               a.     An arbitration proceeding in which such damages
                      are claimed and to which the insured must submit
                      or does submit with our consent; or
               b.     Any other alternative dispute resolution proceeding
                      in which such damages are claimed and to which
                      the insured submits with our consent.
         …



COMPLAINT FOR DECLARATORY RELIEF– 21                         LETHER LAW GROUP
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     Case 3:24-cv-00666-YY     Document 1       Filed 04/18/24     Page 22 of 38




         21.   ''Your product":

               a.     Means:

                      (1)      Any goods or products, other than real
                               property, manufactured, sold, handled,
                               distributed or disposed of by:

                               (a)    You;
                               (b)    Others trading under your name; or
                               (c)    A person or organization whose
                                      business or assets you have
                                      acquired; and

                      (2)      Containers (other than vehicles), materials,
                               parts or equipment furnished in connection
                               with such goods or products.

               b.     Includes:

                      (1)      Warranties or representations made at any
                               time with respect to the fitness, quality,
                               durability, performance or use of "your
                               product"; and
                      (2)      The providing of or failure to provide
                               warnings or instructions.

               c.     Does not include vending machines or other
                      property rented to or located for the use of others
                      but not sold.

         22.   "Your work":

               a.     Means:

                      (1)      Work or operations performed by you or on
                               your behalf; and
                      (2)      Materials, parts or equipment furnished in
                               connection with such work or operations.

               b.     Includes:

                      (1)      Warranties or representations made at any
                               time with respect to the fitness, quality,
                               durability, performance or use of "your
                               work"; and


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                                                               SEATTLE, WA 98109
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       Case 3:24-cv-00666-YY        Document 1      Filed 04/18/24      Page 23 of 38




                           (2)     The providing of or failure to provide
                                   warnings or instructions.
             …

             "Completed" means deemed completed as set forth under
             subparagraph a. (2) of Definition 16. "products-completed
             operations hazard"….

CG 00 01 04 13 as modified by FMIC-GL-2580 (03/2018)

             "Insured contract" means:

             a.     A contract for a lease of premises. However, that portion
                    of the contract for a lease of premises that indemnifies any
                    person or organization for damage by fire to premises
                    while rented to you or temporarily occupied by you with
                    permission of the owner is not an "insured contract";
             b.     A sidetrack agreement;
             c.     Any easement or license agreement, except in connection
                    with construction or demolition operations on or within 50
                    feet of a railroad;
             d.     An obligation, as required by ordinance, to indemnify a
                    municipality, except in connection with work for a
                    municipality;
             e.     An elevator maintenance agreement;
             f.     That part of any other contract or agreement pertaining to
                    your business (including an indemnification of a
                    municipality in connection with work performed for a
                    municipality) under which you assume the tort liability of
                    another party to pay for "bodily injury" or "property
                    damage" to a third person or organization, provided the
                    "bodily injury" or "property damage" is caused, in whole
                    or in part, by you or by those acting on your behalf.
                    However, such part of a contract or agreement shall only
                    be considered an "insured contract" to the extent your
                    assumption of the tort liability is permitted by law. Tort
                    liability means a liability that would be imposed by law in
                    the absence of any contract or agreement..

             Paragraph f. does not include that part of any contract or
             agreement:

                    (1)     That indemnifies a railroad for "bodily injury" or
                           "property damage" arising out of construction or
                           demolition operations, within 50 feet of any
                           railroad property and affecting any railroad bridge


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         Case 3:24-cv-00666-YY          Document 1      Filed 04/18/24      Page 24 of 38




                                or trestle, tracks, road-beds, tunnel, underpass or
                                crossing;
                        (2)     That indemnifies an architect, engineer or surveyor
                                for injury or damage arising out of:

                                (a)    Preparing, approving, or failing to prepare
                                       or approve, maps, shop drawings, opinions,
                                       reports, surveys, field orders, change orders
                                       or drawings and specifications; or
                                (b)     Giving directions or instructions, or failing
                                       to give them, if that is the primary cause of
                                       the injury or damage; or

                        (3)      Under which the insured, if an architect, engineer
                                or surveyor, assumes liability for an injury or
                                damage arising out of the insured's rendering or
                                failure to render professional services, including
                                those listed in (2) above and supervisory,
                                inspection, architectural or engineering activities.

CG 24 26 0413

E.      The Excess Policy

        1.      Identification of the Excess Policy

        3.38.   FMIC an excess liability policy no. CA-EX-0000081313-01 (effective 12/13/18-

11/13/21) (the “Excess Policy”) to 3CD and other named insureds. The Primary Policy and

Excess Policy will hereinafter be collectively referred to as the “Policies.”

        3.39.   The Excess Policy includes a $10 million each occurrence limit of liability, a $10

million general aggregate limit of liability, and a $10 million products-completed operations

aggregate limit of liability.

        3.40.   Pursuant to Form Schedule FMIC-UL, the Excess Policy identifies its Primary

Controlling Underlying Insurance policy to be the Primary Policy.

        3.41.   The Excess Policy includes the following provisions regarding who is an insured:




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       Case 3:24-cv-00666-YY         Document 1       Filed 04/18/24     Page 25 of 38




                          EXCESS LIABILITY COVERAGE FORM

              Various provisions in this Policy restrict coverage. Read the entire
              Policy carefully to determine rights, duties and what is and is not
              covered.

              Throughout this Policy the words "you" and "your" refer to the
              Named Insured shown in the Declarations, and any other person or
              organization qualifying as a Named Insured under this Policy. The
              words "we", "us" and "our" refer to the company providing this
              insurance. The word "insured" means any person or organization
              qualifying as such under the "controlling underlying insurance".

              Other words and phrases that appear in quotation marks in this
              Policy have special meaning. Refer to SECTION IV -
              DEFINITIONS. Other words and phrases that are not defined
              under this Policy but defined in the "controlling underlying
              insurance" will have the meaning described in the policy of
              "controlling underlying insurance".

              SECTION I - COVERAGES

              1.     Insuring Agreement
              …

                     b.      The insurance under this Policy will follow the
                             same provisions, exclusions, conditions and
                             limitations that are contained in the applicable
                             "controlling underlying insurance", unless
                             otherwise directed by this Policy. To the extent
                             such provisions differ or conflict, the provisions of
                             this Policy will apply. However, the coverage under
                             this Policy will not be broader than that provided
                             by any "underlying insurance".

FMIC EX 101.0.302 08 18

      2.      Excess Policy Insuring Agreement

      3.42.   The Excess Policy includes the following insuring agreement:

                          EXCESS LIABILITY COVERAGE FORM
              …

              SECTION I - COVERAGES



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     Case 3:24-cv-00666-YY   Document 1       Filed 04/18/24     Page 26 of 38




         1.    Insuring Agreement

               a.    We will pay on behalf of the insured the "ultimate
                     net loss" in excess of the "retained limit" because
                     of "injury or damage" to which this insurance
                     applies.

                     We will have the right and duty to defend the
                     insured against any "suit" seeking damages for such
                     "injury or damage" when the "retained limit" has
                     been paid in full. When we have no duty to defend,
                     we will have the right to defend, or to associate in
                     the defense of, the insured against any "suit"
                     seeking damages for "injury or damage".

                     However, we will have no duty to defend the
                     insured against any "suit" seeking damages for
                     which
                     insurance under this Policy does not apply.

                     At our discretion, we may investigate any "event"
                     that may involve this insurance and settle any
                     resultant claim or "suit".

                     But:

                     (1)     The amount we will pay for "ultimate net
                             loss" is limited as described in SECTION
                             II - LIMITS OF INSURANCE; and

                     (2)     Our right and duty to defend ends when we
                             have paid the applicable limit of insurance
                             in the payment of judgments or settlements
                             under this Policy. However, if the policy of
                             "controlling      underlying      insurance"
                             specifies that limits are reduced by defense
                             expenses, our right and duty to defend ends
                             when we have paid the applicable limit of
                             insurance in the payment of defense
                             expenses, judgments, or settlements under
                             this Policy.

               b.    The insurance under this Policy will follow the
                     same provisions, exclusions, conditions and
                     limitations that are contained in the applicable
                     "controlling underlying insurance", unless


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       Case 3:24-cv-00666-YY         Document 1       Filed 04/18/24      Page 27 of 38




                            otherwise directed by this Policy. To the extent
                            such provisions differ or conflict, the provisions of
                            this Policy will apply. However, the coverage under
                            this Policy will not be broader than that provided
                            by any "underlying insurance".

                            If any applicable "underlying insurance" does not
                            pay for "ultimate net loss" for any reason other than
                            the exhaustion of its applicable limit of insurance
                            by payment of claims or "suits", then this Policy
                            will not cover such "ultimate net loss".
                     …

                     d.     If any other limit, such as a sublimit, is specified in
                            the "underlying insurance", this insurance does not
                            apply to "injury or damage" arising out of that
                            exposure unless that limit is specified in the
                            Schedule of Underlying Insurance.

FMIC EX 101.0.302 08 18

      3.      Other Excess Policy Provisions

      3.43.   The Excess Policy includes the following limits of insurance provisions:

              SECTION II - LIMITS OF INSURANCE

              1.     The Limits of Insurance shown in the Declarations and the
                     rules below fix the most we will pay regardless of the
                     number of:

                     a.     Insureds;
                     b.     Claims made or "suits" brought or number of
                            vehicles involved;
                     c.     Persons or organizations making claims or bringing
                            "suits"; or
                     d.     Limits available under any "underlying insurance".

              2.     The Limits of Insurance as shown in the Policy
                     Declarations or as otherwise modified by an endorsement
                     attached to this policy will apply as follows:

                     a.     This insurance only applies in excess of the
                            "retained limit."
                     b.     The General Aggregate Limit of Insurance of this
                            policy follows the terms and conditions of the


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        Case 3:24-cv-00666-YY         Document 1      Filed 04/18/24      Page 28 of 38




                             General Aggregate Limit provided by the
                             "controlling underlying insurance" (including any
                             extension period). The Products/Completed
                             Operations Aggregate Limit of Insurance of this
                             policy follows the terms and conditions of the
                             Products/Completed Operations Aggregate Limit
                             provided by the "controlling underlying insurance"
                             (including any extension period).
                      c.     Subject to Paragraph 2.b. above, the Each
                             Occurrence Limit is the most we will pay for the
                             sum of all "ultimate net loss" under this policy
                             because of all "injury or damage" arising out of any
                             one "event."
                      d.     If the Limits of Insurance of the "controlling
                             underlying insurance" are reduced by defense
                             expenses by the terms of that policy, any payments
                             for defense expenses we make will reduce our
                             applicable Limits of Insurance in the same manner.

               3.     The Aggregate Limits of "underlying insurance", where
                      applicable, shall be unimpaired at the attachment date of
                      this Policy, and for the purpose of this insurance, only
                      "events" to which this insurance applies, taking place
                      during the Policy Period of this Policy, shall be considered
                      in determining the extent of any exhaustion of the
                      Aggregate Limits of "underlying insurance", where
                      applicable.
               4.     If two or more Excess policies issued by us, or by any other
                      affiliated insurance company within the Crum & Forster
                      group of companies, applies to the same incident, "event,"
                      act, offense, claim, "suit," or occurrence for which any
                      insured under this Policy is legally liable, then the
                      maximum limit of insurance payable for all "injury or
                      damage" covered under the policies will not exceed the
                      highest applicable Each Occurrence limit of insurance
                      available under any one policy for the incident, "event,"
                      act, offense, claim, "suit," or occurrence.

FMIC EX 101.0.302 08 18 as modified by FMIC-EX-2706(05/2017)

       3.44.   The Excess Policy includes the following examination of your books and records

provisions:

               SECTION III- CONDITIONS



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       Case 3:24-cv-00666-YY         Document 1       Filed 04/18/24     Page 29 of 38




              The following conditions apply:
              ...

              6.     Examination of Your Books and Records

                     We may examine and audit your books and records as
                     they relate to this Policy at any time during the Policy
                     Period and up to three years afterward.

FMIC EX 101.0.302 08 18


      3.45.   The Excess Policy includes the following loss payable provisions:

              SECTION III- CONDITIONS

              The following conditions apply:
              ...

              9.     Loss Payable

                     Liability under this Policy does not apply to a given claim
                     unless and until the insured or insured's "underlying
                     insurer" has become obligated to pay the "retained limit",
                     and the obligation of the insured to pay the "ultimate net
                     loss" in excess of the "retained limit" has been determined
                     by a final settlement or judgment or written agreement
                     among the insured, claimant, "underlying insurer" (or a
                     representative of one or more of these) and us.

FMIC EX 101.0.302 08 18

      3.46.   The Excess Policy includes the following duties provisions:

              SECTION III- CONDITIONS

              The following conditions apply:
              ...

              5.     Duties in the Event of a Claim, Event, or Suit

                     a.     You must see to it that we are notified as soon as
                            practicable of an "event", regardless of the amount,
                            which may result in a claim under this Policy. To
                            the extent possible, notice should include:



COMPLAINT FOR DECLARATORY RELIEF– 29                                LETHER LAW GROUP
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                                                                     SEATTLE, WA 98109
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       Case 3:24-cv-00666-YY         Document 1      Filed 04/18/24      Page 30 of 38




                            (1)     How, when and where the "event" took
                                    place;
                            (2)     The names and addresses of any injured
                                    persons and witnesses; and
                            (3)     The nature and location of any "injury or
                                    damage" arising out of the "event".

                     b.     If a claim is made or "suit" is brought against any
                            insured, you must:

                            (1)     Immediately record the specifics of the
                                    claim or "suit" and the date received; and
                            (2)     Notify us as soon as practicable.

                            You must see to it that we receive written notice of
                            the claim or "suit" as soon as practicable.

                     c.     You and any other insured involved must:

                            (1)     Immediately send us copies of any
                                    demands, notices, summonses, or legal
                                    papers received in connection with the
                                    claim or "suit";
                            (2)     Authorize us to obtain records and other
                                    information;
                            (3)     Cooperate with us in the investigation or
                                    settlement of the claim or defense against
                                    the "suit"; and
                            (4)     Assist us, upon our request, in the
                                    enforcement of any right against any person
                                    or organization which may be liable to the
                                    insured because of "injury or damage" to
                                    which this insurance may also apply.

                     d.     No insured will, except at that insured's own cost,
                            voluntarily make a payment, assume any
                            obligation, or incur any expense, other than for first
                            aid, without our consent.

FMIC EX 101.0.302 08 18

      4.      Excess Policy Definitions

      3.47.   The Excess Policy includes the following definitions:

              SECTION IV- DEFINITIONS


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     Case 3:24-cv-00666-YY         Document 1    Filed 04/18/24     Page 31 of 38




         As used in this Policy:

         1.     "Controlling underlying insurance" means a policy of
                insurance listed in the Schedule of Underlying Insurance
                and identified as "controlling underlying insurance".

         2.     "Event" means an occurrence, offense, accident, act, or
                other event to which the applicable "controlling underlying
                insurance" applies.
         3.     "Injury or damage" means any injury or damage covered
                in the applicable "controlling underlying insurance" arising
                from an "event".
         …

         5.     "Retained limit" means the sum of all "underlying
                insurance" shown in the Schedule of Underlying Insurance.
         6.     "Suit" means a civil proceeding in which damages
                because of "injury or damage" to which this insurance
                applies are alleged. "Suit" includes:

                a.      An arbitration proceeding in which such damages
                        are claimed and to which the insured must submit
                        or does submit with our consent; or
                b.      Any other alternative dispute resolution proceeding
                        in which such damages are claimed and to which
                        the insured submits with our consent or the
                        "underlying insurer's" consent.

         7.     "Ultimate net loss" means the total sum, after reduction
                for recoveries or salvages collectible, that the insured
                becomes legally obligated to pay as damages by reason of:

                a.      Settlements, judgments, binding arbitration; or
                b.      Other binding alternate dispute resolution
                        proceeding entered into with our consent.

                "Ultimate net loss" includes defense expenses if the
                 "controlling underlying insurance" specifies that limits are
                 reduced by defense expenses.

         8.     "Underlying insurance" means the policy or policies
                (including any renewal or replacement of such policies) of
                insurance listed in the Schedule of Underlying Insurance
                including the "controlling underlying insurance" and any
                self-insured retentions.


COMPLAINT FOR DECLARATORY RELIEF– 31                           LETHER LAW GROUP
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                                                        P: (206) 467-5444 F: (206) 467-5544
         Case 3:24-cv-00666-YY           Document 1      Filed 04/18/24     Page 32 of 38




                9.        "Underlying insurer" means any insurer that provides a
                          policy of insurance listed in the Schedule of Underlying
                          Insurance.

FMIC EX 101.0.302 08 18 as modified by FMIC-EX-2655(05/2016)

        3.48.   FMIC reserves the right to assert any other language from the Policies that may

be potentially applicable to this matter.

        3.49.   In accordance with applicable Oregon law, FMIC now brings this claim for

Declaratory Judgment seeking a judicial determination that it does not owe any defense or

indemnity obligations to the 3CD or Mr. Humphries for some or all of the claims asserted against

them in the Underlying Lawsuit.

                IV.       NO COVERAGE IS OWED UNDER THE POLICIES

        4.1.    FMIC reasserts paragraphs 1.1 through 3.49 and incorporates the same as though

fully set forth herein.

A.      No Coverage Is Owed Under the Primary Policy

        4.2.    Pursuant to the foregoing, where the entity designated on the Declarations is a

limited liability company, that limited liability company’s members are also insureds, but only

with respect to the conduct of that limited liability company’s business. That limited liability

company’s managers are also insureds, but only with respect to their duties as that limited liability

company’s managers.

        4.3.    There is an actual and justiciable controversy as to whether Mr. Humphries

qualifies as an insured under the Primary Policy with respect to the claims asserted against him

in the Underlying Lawsuit.

        4.4.    Pursuant to the foregoing, the Primary Policy provides coverage for “property

damage” caused by an “occurrence,” as those terms are defined.



 COMPLAINT FOR DECLARATORY RELIEF– 32                                  LETHER LAW GROUP
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         Case 3:24-cv-00666-YY         Document 1      Filed 04/18/24     Page 33 of 38




       4.5.    There is an actual and justiciable controversy as to whether the claims asserted in

the Underlying Lawsuit involve “property damage.”

       4.6.    There is an actual and justiciable controversy as to whether the claims asserted in

the Underlying Lawsuit involve “property damage” caused by an “occurrence.”

       4.7.    There is an actual and justiciable controversy as to whether the Primary Policy

provides coverage for attorney’s fees and costs that may be awarded against 3CD in the

Underlying Lawsuit.

       4.8.    Pursuant to the foregoing, the Primary Policy provides coverage for certain

expenses enumerated above in sub-paragraphs 1.a. through 1.g. of the Supplementary Payments

Provisions. Specifically, sub-paragraph 1.e. provides coverage for all court costs taxed against

the insured in the "suit." However, these payments do not include attorneys' fees or attorneys'

expenses taxed against the insured

       4.9.    There is an actual and justiciable controversy as to whether the subject claim

involves any amounts owed under the Primary Policy’s Supplementary Payments Provisions.

       4.10.   Pursuant to the foregoing, the Primary Policy excludes coverage "property

damage," as that term is defined, that is expected or intended from the standpoint of the insured.

       4.11.   There is an actual and justiciable controversy as to whether any insured expected

or intended any of the “property damage” alleged in the Underlying Lawsuit.

       4.12.   Pursuant to the foregoing, the Primary Policy excludes coverage for “property

damage,” as that term is defined, for which the insured is obligated to pay by reason of

assumption of liability in a contract or agreement.

       4.13.   There is an actual and justiciable controversy as to whether the claims asserted in

the Underlying Lawsuit involve “property damage” which the insured is obligated to pay by



 COMPLAINT FOR DECLARATORY RELIEF– 33                                LETHER LAW GROUP
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          Case 3:24-cv-00666-YY         Document 1       Filed 04/18/24      Page 34 of 38




reason of assumption of liability in a contract or agreement.

         4.14.   Pursuant to the foregoing, the Primary Policy excludes coverage for “property

damage,” as that term is defined, to real property on which the insured or its subcontractors were

performing operations, if the “property damage” arises from those operations.

         4.15.   There is an actual and justiciable controversy as to whether the claims asserted in

the Underlying Lawsuit involve “property damage” to real property on which the insured or its

subcontractors were performing operations, and the “property damage” arises from those

operations

         4.16.   Pursuant to the foregoing, the Primary Policy excludes coverage for “property

damage” to that particular part of the property that must be restored or repaired because the “your

work” was defectively performed on it, as those terms are defined.

         4.17.   There is an actual and justiciable controversy as to whether the claims asserted in

the Underlying Lawsuit involve “property damage” to that particular part of the property that

must be restored or repaired because the “your work” was defectively performed on it.

         4.18.   Pursuant to the foregoing, the Primary Policy excludes coverage for “property

damage” to “your product” arising out of it or any part of it, as those terms are defined.

         4.19.   There is an actual and justiciable controversy as to whether the claims asserted in

the Underlying Lawsuit involve “property damage” to “your product” arising out of it or any part

of it.

         4.20.   Pursuant to the foregoing, the Primary Policy expressly excludes coverage for

“property damage” to “your work” and included in the “products completed operations hazard,”

as those terms are defined.

         4.21.   There is an actual and justiciable controversy as to whether the claims asserted in



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                                                                 P: (206) 467-5444 F: (206) 467-5544
         Case 3:24-cv-00666-YY         Document 1       Filed 04/18/24     Page 35 of 38




the Underlying Lawsuit involve “property damage” to “your work” and included in the “products

completed operations hazard.”

        4.22.   Pursuant to the foregoing, the Primary Policy excludes coverage for “property

damage” to “impaired property” or property that has not been physically injured arising out of a

defect, deficiency, inadequacy, or dangerous condition in “your product” or “your work” or a

failure to perform a contract in accordance with its terms, as those terms are defined.

        4.23.   There is an actual and justiciable controversy as to whether the claims asserted in

the Underlying Lawsuit involve “property damage” to “impaired property” or property that has

not been physically injured arising out of a defect, deficiency, inadequacy, or dangerous

condition in “your product” or “your work” or a failure to perform a contract in accordance with

its terms.

        4.24.   Pursuant to the foregoing, the Primary Policy excludes coverage for “property

damage” to the Project or any part of the Project that occurs during the course of construction.

        4.25.   There is an actual and justiciable controversy as to whether the claims asserted in

the Underlying Lawsuit involve “property damage” to the Project or any part of the Project that

occurs during the course of construction.

        4.26.   FMIC reserves the right to assert any other exclusions or grounds for which

coverage for the claims asserted against the 3CD and Mr. Humphries in the Underling Lawsuit

may be excluded under the Primary Policy.

B.      No Coverage Is Owed Under the Excess Policy

        4.27.   Pursuant to the foregoing, the Excess Policy follows the same provisions,

exclusions, conditions and limitations that are contained in the Primary Policy.

        4.28.   As discussed at length above, there is an actual and justiciable controversy as to



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           Case 3:24-cv-00666-YY       Document 1       Filed 04/18/24     Page 36 of 38




whether coverage under the Primary Policy is available for the claims asserted in the Underlying

Lawsuit. Similarly, there is an actual and justiciable controversy as to whether coverage under

the Excess Policy is available for the claims asserted in the Underlying Lawsuit.

        4.29.   Pursuant to the foregoing, the Excess Policy provides coverage for the “ultimate

net loss” in excess of the “retained limit” because of “injury or damage,” as those terms are

defined.

        4.30.   There is an actual and justiciable controversy as to whether the claims asserted in

the Underlying Lawsuit involve an “ultimate net loss” in excess of the “retained limit.”

        4.31.   There is an actual and justiciable controversy as to whether the claims asserted in

the Underlying Lawsuit involve “injury or damage.”

        4.32.   There is an actual and justiciable controversy as to whether the Excess Policy

provides coverage for attorney’s fees and costs that may be awarded against 3CD in the

Underlying Lawsuit.

        4.33.   FMIC reserves the right to assert any other exclusions or grounds for which

coverage for the claims asserted against the 3CD and Mr. Humphries in the Underling Lawsuit

may be excluded under the Excess Policy.

                V.        CAUSE OF ACTION FOR DECLARATORY RELIEF

        5.1     FMIC reasserts paragraphs 1.1 through 4.33 and incorporates the same as though

fully set forth herein.

        5.2     Actual and justiciable controversies exist as to whether FMIC owes any defense

obligations under the Policies to 3CD and Mr. Humphries under the Policies for the claims

asserted in the Underlying Lawsuit.

        5.3     Pursuant to and in accordance with 28 U.S.C. § 2201, FMIC asks that the Court



 COMPLAINT FOR DECLARATORY RELIEF– 36                                 LETHER LAW GROUP
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         Case 3:24-cv-00666-YY         Document 1      Filed 04/18/24     Page 37 of 38




grant declaratory judgment in favor of FMIC and enter a judicial determination that FMIC does

not have any defense obligations to 3CD and Mr. Humphries for the claims asserted against them

in the Underlying Lawsuit.

       5.4     Actual and justiciable controversies exist as to whether any FMIC owes any

indemnity obligations under the Policies to 3CD and Mr. Humphries under the Policies for the

claims asserted in the Underlying Lawsuit.

       5.5     Pursuant to and in accordance with 28 U.S.C. § 2201, FMIC asks that the Court

grant declaratory judgment in favor of FMIC and enter a judicial determination that FMIC does

not have any indemnity obligations to 3CD and Mr. Humphries for the claims asserted against

them in the Underlying Lawsuit

                                VI.     PRAYER FOR RELIEF

       FMIC, having alleged the foregoing, does now hereby pray for relief as follows:

       1.      For a declaration that FMIC owes no defense obligation to 3CD or Mr. Humphries

for any claims asserted against them, including but not limited to the claims asserted in the

Underlying Lawsuit, arising from the subject loss.

       2.      For a declaration that FMIC owes no indemnity obligation to 3CD or Mr.

Humphries for any claims asserted against them, including but not limited to the claims asserted

in the Underlying Lawsuit, arising from the subject loss.

       3.      For a declaration that the Underlying Claimants are bound by any judicial

declarations in this matter involving the Policies.

       4.      For all interest allowed by law.

       5.      For attorney fees and costs allowed by statute and law.

       6.      For other and further relief as the Court deems just and equitable.



 COMPLAINT FOR DECLARATORY RELIEF– 37                                LETHER LAW GROUP
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                                                              P: (206) 467-5444 F: (206) 467-5544
     Case 3:24-cv-00666-YY      Document 1    Filed 04/18/24     Page 38 of 38




    DATED this 18th day of April, 2024.


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